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                                                                                          E XHIBIT 6
                                                                        Agreed provisions in Black.
                                                                       Plaintiff suggestions in Blue.
                                                       Non-Transocean Defendants’ positions in Red.


                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig                    *            M DL No. 2179
       “Deepwater Horizon” in the Gulf             *
       of M exico, on April 20, 2010               *            SECTION: J
                                                   *
        Applies to: No. 10-2771                    *            JUDGE BARBIER
                                                   *            M AGISTRATE SHUSHAN
*   *    *   *    *   *    *    *     *   *   *   *



                                    PRE-TRIAL ORDER NO. ____

          [SCHEDULING ORDER FOR LIM ITATION AND TEST CASE TRIAL]


        In order to provide for the effective management and administration of the trial of the

Transocean Limitation, Docket No 10-2771, and associated cases and controversies at issue in the

above-captioned multi-district litigation proceedings, IT IS HEREBY ORDERED that:

        1. By May 2, 2011, the Plaintiffs Steering Committee shall provide Defense Liaison Counsel

and the Court with the identity of one or two personal injury / wrongful death test case plaintiffs and

one or two Robins Dry Dock test case plaintiffs who have each designated their cases for bench trial

under Rule 9(h). [While Transocean agrees, BP and perhaps other non-Transocean Defendants

object.] These plaintiffs shall be parties to the February 27, 2012 trial of liability, limitation,
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exoneration and fault allocation in Civil Action No. 10-2771, as well as the plaintiffs in [a July

2012] [any subsequent] test case trial on the questions of damages, entitlement to punitive damages,

and amount of punitive damages, if available.

       2. On or before August 15, 2011, the test case Plaintiffs shall serve expert reports for the

February 27, 2012 trial on Defense Liaison Counsel in accordance with Rule 26(a)(2).

       3. On or before September 15, 2011, the Vessel Owner / Petitioner in Limitation shall serve

expert reports for the February 27, 2012 trial on all Liaison Counsel in accordance with Rule

26(a)(2).

       4. On or before October 17, 2011, all February 2012 test case Defendants, 14(c) Defendants

and/or Third-Party Defendants shall serve expert reports for the February 27, 2012 trial on all

Liaison Counsel in accordance with Rule 26(a)(2).

       5. On or before November 15, 2011, the test case Plaintiffs shall serve any supplemental

and/or rebuttal expert reports for the February 27, 2012 trial on Defense Liaison Counsel.

       6. Depositions of experts for the February 27, 2012 trial shall commence on or after

November 16, 2011, and shall be completed by January 31, 2012.

       7. Any and all Daubert Motions and/or other Pre-Trail Motions, together with a Pre-Trial

Stipulation, Witness Lists and Exhibit Lists, relating to the February 27, 2012 trial shall be filed on

or before February 1, 2012.

       8. A final Pre-Trial Conference shall be held on February ___, 2012.




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        9. Trial of Limitation, Exoneration, Liability and Fault Allocation in Civil Action No. 10-

2771 and the test case actions shall commence on February 27, 2012.

        10. A separate Scheduling Order will be issued by the Court to govern any additional fact or

expert discovery and/or motion practice associated with [the July 2012] [any further] trial of test

case damages, entitlement to punitive damages,1 and amount of punitive damages, if available.

[Defendants propose:] Such matters will be discussed at a status conference to be conducted

approximately 45 days after the Court’s ruling on the matters tried in the February 27, 2012 trial.


        New Orleans, Louisiana, this ___ day of October, 2010.




                                                         CARL J. BARBIER
                                                         UNITED STATES DISTRICT JUDGE




    1
      Plaintiffs Liaison Counsel have recently been advised that it may be more appropriate, for legal or
other reasons, to include the issue of entitlement to punitive damages within the phase one Limitation /
Liability / Test Case February 2012 Trial. (The amount of punitive damages, if any, would be reserved
for consideration within the phase two July 2012 Trial.) Plaintiffs suggest that further discussions should
occur between and among the parties and the Court to determine whether there should be later
modification or amendment to the trial plan along these lines.

                                                                                                    Page 3
